
All Healthy Style Medical, P.C., Also Known as All Healthy Style, P.C., as Assignee of Carlos Canela, Appellant,
againstAmeriprise Ins. Co., Respondent.




Kopelevich &amp; Feldsherova, P.C. (David Landfair of counsel), for appellant.
Bruno, Gerbino &amp; Soriano, LLP (Nathan Shapiro of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered May 11, 2016. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied. 
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint upon the ground that plaintiff's assignor had procured the insurance policy in question by making a material misrepresentation as to his place of residence. 
For the reasons stated in Liliya Veksler, LCSW, P.C. v Ameriprise Ins. Co. (59 Misc 3d 145[A], 2018 NY Slip Op 50741[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2018]), the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 16, 2018










